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FoR THE wEsTERN DISTRICT oF TENNB§:#:E 12 PH |= 58
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'u|:
LESLIE D. CHAMBERS, IRIS
HANCOCK CHAMBERS and DeLYNN
CHAMBERS, INC.,

Plaintiffs,

v. No. 03-2754 Ml/P
AL FREEMAN, Individually and
in his capacity as a Deputy
Sheriff of Fayette County,
Tennessee, DAN FEATHERS,
Individually and in his
capacity as an Officer of the
City of Somerviller Tennessee
Police Department, TOM TAYLOR,
Individually and in his
capacity as an officer of

the Memphis Police Department,

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Defendants.

 

ORDER GRANTING MOTION FOR SUMMARY JUDGMENT OF DEFENDANT AL
FREEMAN
ORDER GRANTING MOTION FOR SUMMARY JUDGMENT OF DEFENDANT DAN
FEATHERS
and
ORDER OF DISMISSAL

 

Before the Court is the Motion for Summary Judgment en
Behalf of Defendant Al Freeman, filed June 2, 2005, to which
Plaintiffs responded in cppositicn en July ll, 2005. Also before
the Court is the Mction for Summary Judgment cf Defendant Dan
Feathers, filed June 2, 2005, to which Plaintiffs responded in

Oppositicn en July 19, 2005. Defendant filed a reply to

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Defendant Officer Feathers’ motion on July 25, 2005.1 For the
following reasons, the motions are GRANTED.

I. BACKGROUND

The instant lawsuit arises out of Defendants’ search and
seizure of property at the home of Plaintiffs Leslie D. Chambers
and lris Hancock Chambers on October 9, 2002. Plaintiffs allege
that Defendants confiscated business and personal property that
was not listed in the search warrant, that they damaged and
destroyed Plaintiffs' property while conducting the search, that
they did not maintain the safety and protection of Plaintiffs’
property while it was under their care, custody and control,r and
that they breached their duty to Plaintiffs to observe basic
storage techniques. (Pls.’ Compl.)2 The facts relevant to

Plaintiffs' claims are largely undisputed.3

 

1 Defendant is hereby granted leave to file his reply.

2 Plaintiffs’ Complaint does not include page or paragraph
numbers.

3 In their respective responses to Defendants’ motions for
summary judgment, Plaintiffs do not specifically respond to
Defendants' serially numbered statements of material facts upon
which Defendants relied in support of their respective motions
for summary judgment, as required by Local Rule 7.2(d)(3)(“the
opponent of a motion for summary judgment who disputes any of the
material facts upon which the proponent has relied pursuant to
subsection (2) above shall respond to the proponent’s numbered
designations, using the corresponding serial numbering, both in
the response and by affixing to the response copies of the
precise portions of the record relied upon to evidence the
opponent’s contention that the proponent's designated material
facts are at issue.”). In response to Officer Freeman’s

(continued...)

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Plaintiffs Leslie Chambers and Iris Chambers are husband and
wife who, at the time relevant to the instant case, resided at
815 Linwood Dr. in a mobile home located on a rural road in an
unincorporated area of Fayette County, Tennessee.4 (Statement of
Material Facts Upon Which Def. Feathers Relies in Supp. of His
Mot. for Summ. J. (Docket No. 48) I l.) Defendant Al Freeman is
a deputy sheriff employed by the Fayette County Sheriff’s
Department. (Id. T 2.) Defendant William Daniel Feathers was,
at the time relevant to the instant case, a police officer

employed by the Town of Somerville who had been assigned to work

 

{...continued)

statement of undisputed facts, Plaintiffs refer the Court to the
March 26, 2003, Report and Recommendation of the United States
Magistrate Judge in United States v. Chambers, a criminal case
brought against Leslie D. Chambers as a result of the search of
the Chambers’ residence on October 9, 2002. (See March 26, 2003,
Report and Recommendation on Defendant’s Motion to Suppress
(Docket No. 36) at 6 , United States v. Chambers, No. 02-20423,
W.D. Tenn., indictment filed on November 12, 2002.) The Court
hereby takes judicial notice of the magistrate judge’s March 26,
2003, Report and Recommendation in United States v. Chambers.

The Court adopted the magistrate judge’s Report and
Recommendation and granted Leslie Chambers’ motion to suppress
the evidence seized from his property on September 26, 2003. The
United States Court of Appeals for the Sixth Circuit affirmed the
District Court and the Indictment as to Leslie Chambers was
dismissed on April ll, 2005. The facts found in the March 26,
2003, Report and Recommendation do not contradict those stated by
either Defendant. Accordingly, the Court finds that Plaintiffs
do not dispute the facts relied upon by either officer in their
respective motions.

4 Although each defendant has presented his own statement of
material facts, the respective facts relied upon by Defendants
are not in conflict and therefore the Court has set them forth
together.

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full-time as a Narcotics Officer for the 25th Judicial District
Drug Task Force. (ld. I 3.)°

On October 9, 2002, the Fayette County Sheriff’s Department
received a tip that Plaintiffs and other individuals were
manufacturing methamphetamine at Plaintiffs' residence. (Mem. of
Law in Supp. of Mot. for Summ. J. on Behalf of Def. Al Freeman at
l, I l.) Plaintiffs contend that Officer Freeman, at that time,
was in possession of information gained from a reliable
informant, his own previous surveillance of their property, and
an anonymous tip made within an hour from the time he entered
Plaintiffs’ premises, that indicated drug activity had been
taking place at Plaintiffs’ residence. (Pls.’ Mem. in Opp. to
Def. Al Freeman’s Mot. for Summ J.)6 Nonetheless, it is
undisputed that he did not obtain a search warrant at that time.
{Id.) Rather, Officer Freeman went to Plaintiffs' residence to
investigate, along with two other officers. (Mem. of Law in Supp.
of Mot. for Summ. J. on Behalf of Def. Al Freeman at 2, I 2.)

After Officer Freeman knocked on the door of the residence, a

 

5 Plaintiffs' Complaint also names Tom Taylor, purportedly
an officer of the Memphis Police Department, as a defendant.
Although a summons was issued as to Tom Taylor, no return of
service was ever filed and Tom Taylor did not answer Plaintiffs’
Complaint. Accordingly, Plaintiffs’ purported claims against Tom
Taylor are DISMISSED for failure to prosecute pursuant to Federal
Rule of Civil Procedure 4l(b).

5 The pages of Plaintiff’s opposition to Defendant Freeman’s
motion for summary judgment are not numbered.

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female approached the door. (Id.) When Officer Freeman
identified himself as a police officer, the woman turned around
and excitedly ran back into the house, loudly exclaiming that the
police were at the door. (Id. at 2, I 3; Rep. and Rec. on Def.’s
Mot. to Suppress, United States v. Chambers, No. 02-20423, W.D.
Tenn. filed on November 12, 2002, (Docket No. 36) at 6.) Officer
Freeman then heard a commotion inside the trailer home loud
enough to indicate that several people were running through the
trailer home. (Mem. of Law in Supp. of Mot. for Summ. J. on
Behalf of Def. Al Freeman at 3, I 3; November 12, 2002, Rep. and
Rec. at 6.) Only then did the deputies enter the home. (Mem. of
Law in Supp. of Mot. for Summ. J. on Behalf of Def. Al Freeman at
3; November l2, 2002, Rep. and Rec. at 6.)

Officer Freeman contends that, from his knowledge and
training as a police officer, he was conscious that the persons
inside the residence may have been attempting to destroy evidence
or products used in the manufacturing of methamphetamines and,
out of fear for the safety of his fellow officers and himself,
and the potential destruction of evidence, he and the other
officers entered the trailer home. (Mem. of Law in Supp. of Mot.
for Summ. J. on Behalf of Def. Al Freeman at 2, I 4-5.) Once
inside the trailer home, Officer Freeman spoke with Plaintiff
Leslie Chambers, informed him of his Miranda rights and obtained

his verbal consent to search the residence. (ld. at 2, I 6.)

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While inside the residence, Officer Freeman noticed, in plain
view, paraphenalia associated with the manufacture and use of
methamphetamines, including torn pieces of aluminum foil with
residue in them, blister packs of cold tablets, a gallon of
solvent paint thinner and lithium batteries. (Id. at 2-3, I 7.)

At some point after obtaining Plaintiffs' verbal consent to
search the home, Officer Freeman telephoned Officer Feathers,
described the situation to him, and requested that he come to the
residence to assist. (Stmt. Of Mat. Facts Upon Which Def.
Feathers Relies in Supp. of His Mot. for Summ. J. II 4~8.)
Officer Feathers subsequently drove to Plaintiffs’ residence and,
upon his arrival, obtained the signatures of Leslie Chambers and
Iris Chambers on separate forms indicating their consent to a
search of their residence. (ld. IT 9, 12-15.)7

After conducting a limited search of the premises but before
conducting a full search, Officer Feathers prepared an affidavit
to obtain a search warrant and then obtained such a warrant from
then Fayette County Circuit Court Judge Jon Kerry Blackwood.
(Id. TI 25-27.) The warrant authorized the officers to search

the premises for evidence of suspected drug manufacturing

 

j Plaintiffs both wrote the term “without prejudice” below

their signatures on the form, apparently due to a belief that
such a notation would negate their consent. Although the parties
disputed the significance of that notation during the preceding
criminal case, the notation was found to have no legal
significance, and the parties do not dispute the fact that the
notation had no legal effect on their consent to the search in
this case.

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activity. (Mem. of Law in Supp. of Mot. for Summ. J. on Behalf
of Def. Al Freeman at 3, I lO.) Based upon evidence discovered
at Plaintiffs’ residence, both Plaintiffs were arrested and
various items were seized from the property. (Id. at 3, I ll.)

Officer Feathers contends that his only involvement in the
search was to photograph certain evidence and secure samples of
alleged methamphetamine and items used to make methamphetamine.
(Stmt. of Mat. Facts Upon Which Def. Feathers Relies in Supp. of
His Mot. for Summ. J. I 29.) He also contends that he did not
destroy or damage any of Plaintiffs' property, touch or take any
tools or computers belonging to Plaintiffs, nor was he involved
in transporting any vehicles from the premises. (ld. TT 30-33.)
Officer Freeman contends that he did not take any action to
intentionally or unintentionally destroy, damage or alter any of
Plaintiffs' property that was being searched, and that he was not
responsible for taking inventory of or storing any of Plaintiffs'
property. (Mem. of Law in Supp. of Mot. for Summ. J. on Behalf
of Def. Al Freeman at 4-5, II l3-l?.)

After they were arrested, Plaintiffs were incarcerated for
approximately 14 days. (Mem. of Law in Supp. of Mot. for Summ.
J. on Behalf of Def. Al Freeman at 4, i l6.) Plaintiffs are not
aware of whether anyone was at their house while they were
incarcerated. (Dep. of Leslie Chambers at 62:23-63:1, 64:20-22,

attached as Ex. C to Mem. of Law in Supp. of Mot. for Summ. J. on

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Behalf of Def. Al Freeman.) According to Mr. Chambers’s
deposition testimony, Mr. Chambers has no personal knowledge of
whether Officers Freeman or Feathers had taken any particular

actions with respect to his property. (Id. at 52:17-54:3.)8

 

a In particular,r the deposition testimony of Mr. Chambers
proceeded as follows:

Q: Okay. I'm asking you what knowledge do you have as
to other people or what they have said to you?

A: I believe we were in jail for, l think, 13 or 14
days, we come back and everything was destroyed. l
mean, l can't say l saw this one do that or l saw that
one do that.

Q: So - I mean, you - you're not able to tell me
anything that Al Freeman did to any of your property,
that he actually possessed or touched or anything?

A: l was locked up in jail. The only thing l can say
is he come in with a gun and robbed us.

Q: Well, did he - do you have any information as it
relates to what property Al Freeman touched,
confiscated, or handled in any shape, form, or fashion?
A: l didn’t see him, but l wasn't there.

Q: Okay. Do you have any knowledge - do you have any
personal knowledge as to any property that Dan Feathers
touched, handled or changed in any shape, form, or
fashion?

A: l don't know if l’m getting the question exactly
right, but -

Q: Well, I’ve told you to stop me and tell me about
that now, hadn’t I?

A: All right.

Q: Okay. Go ahead.

A: He’s the one that come in with a gun and arrested us
and took us to jail, and as far as the damages and
stuff that were done there, I was in jail, I can't say
that he did this or he did that. l just know it was
done when we got out.

(Dep. of Leslie Chambers at 52:17-54:3.)

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Subsequent to the search of the property, Leslie Chambers
was indicted regarding the alleged possession of narcotics and
firearms. See United States v. Chambers, No. 02-20423, W.D.

Tenn., filed on November 12, 2002. On September 26, 2003, the
district court granted Mr. Chambers’s motion to suppress all
evidence seized from his property pursuant to the relevant
search. (See Order Granting Def.’s Mot. to Suppress (Docket No.
63), United States v. Chambers, No. 02-20423, W.D. Tenn., filed
on November 12, 2002.)

Plaintiffs filed their Complaint on October 9, 2003,
contending that much of their personal property was seized in the
search, including an automobile, various tools, machinery and
electronics. (Pls.' Compl.) Plaintiffs also contend that many
of their possessions were damaged or lost either during the
course of the search or when these possessions were subsequently
stored by the Defendants. (ld.) Attached to Plaintiffs'
Complaint are photographs of their property, taken several weeks
after the search, which illustrate the alleged damage to their
property.

On December l, 2003, a confiscation hearing was held before
the Tennnessee Department of Safety in Memphis, Tennessee, at the
conclusion of which Plaintiff executed a Proposed Civil
Settlement Agreement and Release of Liability. (See Mot. for

Summ. J. on Behalf of Def. Al Freeman, Ex. G.) The agreement was

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signed by Mr. Chambers and a Department of Safety State Attorney.
(Id.) The agreement provides that the Claimant, Mr. Chambers,
“will compromise his/her claim to the following property” and
states that the “Property delineated on Transcript” is to be
returned to the Claimant. A second page is attached to the
agreement containing a list describing nine items of property - a
Compac Presario laptop computer, one Advanced Tech camera
switchbox, one Mustec scanner, one Emerson VCR, various
surveillance cameras and monitors, a 1976 Corvette, a 1985 Honda
three~wheeler, and four hundred dollars in cash. (Id.) The
transcript of the Department of Safety hearing indicates that the
page attached to the agreement describes all of the items that
were returned to Leslie Chambers on the date of the hearing.

(Mot. for Summ. J. on Behalf of Al Freeman, Ex. F.) ln addition,
the agreement includes the following waiver clause: “CLAIMANT by
his/her signature below does waive any legal claim or cause of
action which he/she might otherwise have as a result of any acts
underlying this forfeiture proceeding.” (Id.}

On February 2, 2005, the United States Court of Appeals for
the Sixth Circuit affirmed the judgment of the district court
suppressing all evidence obtained from the search of Plaintiff's
property and dismissing the indictment against Plaintiff because,

the Court found, the seizure had been made pursuant to an illegal

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entry of Mr. Chambers's home. See United States v. Chambers, 395
F.3d 563, 569-70 (6th Cir. 2005).
II. SUMMARY JUDGMENT STANDARD
Under Eederal Rule of Civil Procedure 56(c), summary

judgment is proper “if the pleadings, depositions,r answers to
interrogatories, and admissions on file, together with the
affidavits, if any, show that there is no genuine issue as to any
material fact and that the moving party is entitled to judgment
as a matter of law.” Fed. R. Civ. P. 56(c); see also Celotex
Corp. v. Catrett,r 477 U.S. 317, 322 (1986). So long as the
movant has met its initial burden of “demonstrat[ing] the absence
of a genuine issue of material fact,” Celotex, 477 U.S. at 323,
and the nonmoving party is unable to make such a showing, summary
judgment is appropriate. Emmons v. McLaughlin, 874 F.2d 351, 353
(Gth Cir. 1989). In considering a motion for summary judgment,
“the evidence as well as all inferences drawn therefrom must be
read in a light most favorable to the party opposing the motion.”
Kochins v. Linden-Alimak, Inc., 799 F.2d 1128, 1133 (6th Cir.
1986); see also Matsushita Elec. Indus. Co. v. Zenith Radio
ggrpy, 475 U.S. 574, 587 (1986).

When confronted with a properly-supported motion for summary
judgment, the nonmoving party “must set forth specific facts
showing that there is a genuine issue for trial.” Fed. R. Civ.

P. 56(e); see also Abeita v. TransAmerica Mailings, lnc., 159

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F.Bd 246, 250 (6th Cir. 1998). A genuine issue of material fact
exists for trial “if the evidence {presented by the nonmoving
party] is such that a reasonable jury could return a verdict for
the nonmoving party.” Anderson v. Libertv Lobbv, Inc., 477 U.S.
242, 248 (1986). ln essence, the inquiry is “whether the
evidence presents a sufficient disagreement to require submission
to a jury or whether it is so one-sided that one party must
prevail as a matter of law.” ld; at 251-52.

III. ANALYSIS

Both Defendants move for summary judgment regarding all of
Plaintiffs' claims against them. ln their Complaint, Plaintiffs
allege that Defendants “violated accepted law enforcement
policies fregarding] storage of confiscated property ... [and the
execution ofl ... a search of a home pursuant to a search
warrant,” and that this conduct violated their rights under the
Fourth, Eighth and Fourteenth Amendments of the United States
Constitution, as well as 42 U.S.C. §§ 1983, 1985, 1986, and 1988.
(Pls.' Compl.) Neither in their Complaint nor their responses to
Defendants’ motions for summary judgment, however, do Plaintiffs
articulate any theory upon which Defendants may be liable to
Plaintiffs under §§ 1985 or 1986. Additionallyr § 1988 merely
allows for an award of attorney's fees upon a finding of a
violation of certain statutory rights. Accordingly, the Court

DISMISSES Plaintiffs’ claims pursuant to §§ 1985 and 1986 and

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construes Plaintiffs’ Complaint as asserting claims pursuant to
42 U.S.C. § 1983.

Section 1983 does not create substantive rights,r but rather
serves as a “method for vindicating federal rights elsewhere
conferred.” Baker v. McCollan, 443 U.S. 137, 144, n.3 (1979).

To establish a prima facie case under § 1983, a plaintiff must
prove two elements: (1) that the government action occurred
“under color of law” and (2) that the action is a deprivation of
a constitutional right or federal statutory right. Parratt v.
Taylor, 451 U.S. 527, 535 (1981); Block v. Ribar, 156 F.3d 673,
677 (6th Cir. 1998). “The first step in any such claim is to
identify the specific constitutional right allegedly infringed.”
Albright v. Oliver, 510 U.S. 266, 271 {1994). Plaintiffs claim
that Defendants violated their rights pursuant to the Fourth,
Eighth, and Fourteenth Amendments.

Plaintiffs have sued Defendants both in their individual and
official capacities. The Court will first address Plaintiffs' §
1983 official capacity claims before addressing their § 1983
individual capacity claims.

A. Official Capacity Claims

In an official capacity action,r the plaintiff seeks damages
from the entity for which the officer is an agent, rather than an
individual officer. Pusev v. Citv of Youngstown, 11 F.3d 652, 657

(6th Cir. 1993). “{A]n official~capacity suit is, in all

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respects other than name, to be treated as a suit against the
entity. ld; (quoting Kentuckv v. Graham, 473 U.S. 159, 166
(1985)). Accordingly, Plaintiffs’ claims for damages against
Defendants in their official capacity must be construed as claims
against the Town of Somerville, Tennessee and Fayette County,
Tennessee.

A municipality may be held liable under § 1983 only if the
municipality itself caused a constitutional deprivation. Monell
v. Dep't of Soc. Servs. of New York, 436 U.S. 658, 690 (1978).
Before a local governmental unit can be held liable for injuries
pursuant to § 1983, “a plaintiff must show that his injuries were
the result of some ‘policy or custom’ attributable to the
governmental entity.” Leach v. Shelbv Countv Sheriff, 891 F.2d
1241, 1245 (6th Cir. 1989) (quoting Monell, 436 U.S. at 690). A
municipality is not liable under § 1983 for an injury inflicted
solely by its employees or agents, but rather only when the
“execution of the government's policy or custom ... inflicts the
injury.” Citv of Canton v. Harris, 489 U.S. 378, 385 (1989).
Further, the governmental entity is liable under § 1983 only when
the entity itself is a “moving force” behind the deprivation of
constitutional rights. Kentuckv v. Graham, 473 U.S. 159, 166
{1985).

Plaintiffs do not allege in their Complaint, nor do they

point to any evidence in the record, to show that any alleged

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constitutional deprivation was the result of a municipal policy
or custom of the Town of Somerville or Fayette County, Tennessee.
Accordingly, Plaintiffs’ claims against Officers Feathers and
Freeman in their official capacities are DISMISSED.

B. Individual Capacity Claims

Plaintiffs have also asserted § 1983 claims against both
Defendant officers in their individual capacities. Both Officer
Freeman and Officer Feathers contend that they are either
entitled to qualified immunity from Plaintiffs’ § 1983 claims or
that Plaintiffs fail to point to any evidence that the officers
caused any constitutional deprivation with respect to any loss
and/or damage to their property during or after the search. The
Court will address these contentions in turn.

1. Qualified Immunity

The doctrine of qualified immunity protects government
officials who perform discretionary functions from civil
liability “insofar as their conduct does not violate clearly
established statutory or constitutional rights of which a
reasonable person would have known.” Beard v. Whitmore Lake
School Dist., 402 F.3d 598, 602-03 (6th Cir. 2005)(citing Harlow
v. Fitzgerald, 457 U.S. 800, 818 (1982)). In §§ard, the United
States Court of Appeals for the Sixth Circuit described the three
part test for determining whether a grant of qualified immunity

is proper:

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First, we determine whether, based upon the applicable
law, the facts viewed in the light most favorable to
the plaintiffs show that a constitutional violation has
occurred. Second, we consider whether the violation
involved a clearly established constitutional right of
which a reasonable person would have known. Third, we
determine whether the plaintiff has offered sufficient
evidence to indicate that what the official allegedly
did was objectively unreasonable in light of the
clearly established constitutional rights.
ld. at 603 (citing Champion v. Outlook Nashville, Inc., 380 F.3d
893, 900-01 (6th Cir. 2004)). “If the answer to all three
questions is yes, then qualified immunity is not proper.” ld.
(citing Champion, 380 F.3d at 901).

Defendants both contend that Plaintiffs fail to establish
the existence of a constitutional violation with respect to the
search and seizure at Plaintiffs' home and, even assuming that
Plaintiffs could establish that such a violation occurred, that
they acted in an objectively reasonable manner in conducting the
search and seizure.9 Plaintiffs contend that Defendants cannot
assert the defense of qualified immunity because the evidence
obtained through the search was suppressed as unconstitutionally
seized.

A finding that a search is unconstitutional, however, does

not necessarily indicate that an officer is barred from claiming

 

9 Neither Defendant contends in his motion that any of the
rights that Plaintiff alleges were violated were not clearly
established. Rather, the opinion of the Sixth Circuit in
Freeman, and the authority upon which that opinion was based,
illustrates that the right to be free from an illegal search and
seizure is clearly established. Chambers, 395 F.3d at 569-70.

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qualified immunity. Seec e.g., §§ard, 402 F.3d at 603 (finding
search of students to be unconstitutional but that defendants
were nonetheless entitled to qualified immunity because the
constitutional rights were not clearly established).
Additionally, the Sixth Circuit's finding that the evidence
seized from Plaintiffs' property was properly suppressed in the
criminal case against Mr. Chambers does not collaterally estop
either Defendant from contending that he is entitled to qualified
immunity.10 The Sixth Circuit opinion in Chambers did not
address the question of whether the Plaintiffs have “offered
sufficient evidence to indicate that what [the Defendant
officers] allegedly did was objectively unreasonable in light of

[Plaintiffs'l clearly established constitutional rights.” Beard,

 

m Although the principle of collateral estoppel generally
bars a party from re-litigating an issue that was litigated in a
prior case, under federal law, collateral estoppel “requires that
the precise issue in the later proceedings have been raised in
the prior proceeding, that the issue was actually litigated, and
that the determination was necessary to the outcome.” Spilman v.
Harley, 656 F.2d 224, 228 (6th Cir. l981)(citations omitted).
The Court finds those factors absent in the instant case and
therefore that collateral estoppel does not bar Defendant Freeman
from raising the defense of qualified immunity. Moreover,
collateral estoppel generally does not apply to bar an individual
officer from contending that he or she is entitled to qualified
immunity in a civil case under § 1983 where evidence was
suppressed for constitutional reasons in a prior related criminal
case. See Turpin v. County of Rock, 262 F.3d 779, 782-83 (8th
Cir. 2001)(finding collateral estoppel could not be asserted
against individual officers in a civil § 1983 case where officers
were not parties nor in privity with the state and did not have a
full and fair opportunity to litigate issues in a prior criminal
action in which evidence was suppressed); Tiernev v. Davidson,
133 F.3d 189, 195-96 (2nd Cir. 1998)(same).

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402 F.3d at 602-03 (citations omitted). Accordingly, the Court
must analyze Defendants’ conduct to determine whether they are
entitled to qualified immunity. Because the Defendants’ arrived
at the scene at different times and therefore engaged in distinct
conduct, the Court will analyze whether they are entitled to
qualified immunity separately.

a. Conduct Exclusively Involving Officer Freeman

Officer Freeman first contends that Plaintiffs cannot
maintain a claim against him that would establish a
constitutional violation. However, the Sixth Circuit in Chambers
found that the search of Plaintiffs' home was unconstitutional
and therefore that the evidence seized from Plaintiffs' property
should be suppressed. Chambers, 395 F.3d at 569. Accordingly,
the Court finds that Plaintiffs point to sufficient evidence in
the record to create a genuine issue of material fact regarding
whether Officer Freeman violated their constitutional rights by
engaging in an illegal search.

Officer Freeman next contends, however, that his actions
were objectively reasonable in light of all the circumstances of
the search of Plaintiffs' property - in particular, prior
surveillance which indicated the possibility of drug activity at
Plaintiffs’ residence, the tip he received about Plaintiffs’
manufacturing methamphetamine on the day of the search, the

actions of individuals at Plaintiffs' residence in response to

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the presence of police officers, the verbal consent that
Plaintiffs gave to search the premises, the consent forms that
Plaintiffs signed giving consent to search, and his procuring a
search warrant to search the property.

ln determining whether an officer's actions were objectively
reasonable, “individual claims of immunity must be analyzed on a
fact-specific, case-by-case basis to determine whether the
plaintiff's constitutional rights were so clearly established
when the alleged misconduct was committed that any official in
the defendants’ position would understand that what he did
violated those rights.” O'Brien v. Citv of Grand Rapids, 23 F.3d
990,r 999 (6th Cir. 1994)(citing Anderson v. Creighton, 483 U.S.
635,r 638-39 (1987)). An officer will be immune “if officers of
reasonable competence could disagree” regarding whether the
conduct violated the plaintiff's rights. Pray v. City of
Sanduskyc Ohio, 49 F.3d 1154,r 1158 (6th Cir. 1995)(citing Malley
v. Briggs, 475 U.S. 335r 349 (1986)); O'Brien, 23 F.3d at 999.

The police may enter a house without a warrant when
“probable cause plus exigent circumstances” exist. _ee Kirk v.
Louisianar 536 U.S. 635, 638 (2002)(explaining that “police
officers need either a warrant or probable cause plus exigent
circumstances in order to make a lawful entry into a home”). A
reasonable belief that an individual within a residence is about

to destroy evidence is an exigent circumstance. United States v.

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Campbell, 261 F.3d 628, 632-33 (6th Cir. 2001) (“The law is well
settled that a warrantless entry will be upheld when the
circumstances then extant were such as to lead a person of
reasonable caution to conclude that such evidence would probably
be destroyed within the time necessary to obtain a search
warrant.”); see also United States v. Douqlas Pennington, 287
F.3d 739, 747 (8th Cir. 2002)(holding that officer’s knowledge
that drugs had just left the house, that drugs had been found in
the residence during a search three months prior, and that the
house currently smelled of drugs “created exigent circumstances
justifying the officers' entry into the house to arrest [an
occupant] and to prevent the destruction of drug manufacturing
evidence while they obtained a search warrant”); United States v.
Marshall, 157 F.3d 477, 482 (7th Cir. 1998)(holding that the
warrantless entry into the suspect's home was justified because
the officers reasonably believed the occupant was aware of their
presence and preparing to destroy evidence}.

ln the context of a search without a warrant based upon
exigent circumstances, the fact that an officer may have
subjectively believed that exigent circumstances existed to
warrant a search is not relevant to the qualified immunity
analysis - rather, the standard is one of objective
reasonableness. O’Brien, 23 F.3d at 999. However, officers are

“entitled to qualified immunity [when] their decision was

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reasonable, even if mistaken.” fray, 49 F.3d at 1158 (citing
Castro v. United States, 34 F.3d 106, 112 (2nd Cir. 1994)).
Qualified immunity therefore protects the officer’s conduct if it
was “objectively reasonable for [an officer] to conclude, given
the information [he] had, that immediate action ... without first
obtaining a warrant was necessary - that is, that exigent
circumstances existed to excuse [his] failure to obtain a warrant
before entering [Plaintiffs’] residence.” ld;

lt is undisputed that, prior to Officer Freeman traveling to
the Plaintiffs’ home on the date of the search, Officer Freeman
had engaged in surveillance that indicated the possibility of
drug activity taking place at Plaintiffs’ residence. (Pls.’ Mem.
in Opp. to Def. Al Freeman’s Mot. for Summ. J. at 4.) Officer
Freeman contends, however, that he did not believe that he had
adequate probable cause when he went to Plaintiffs' residence on
October 9, 2002, to obtain a search warrant for the premises.

The Court finds that his belief that insufficient evidence
existed to obtain a search warrant, although possibly mistaken,
was reasonable.

Moreover, the general procedure of engaging a suspect in a
“knock and talk” is not unreasonable and has been upheld as an
appropriate police tactic. See Ewolski v. Citv of Brunswick, 287
F.3d 492, 504 (6th Cir. 2002)(concluding that it was reasonable

to approach a suspect’s home to attempt to learn more through

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consensual questioning); see also United States v. Jones, 239
F.3d 716, 720 (5th Cir. 2001) (“Federal courts have recognized
the ‘knock and talk’ strategy as a reasonable investigative tool
when officers seek to gain an occupant's consent to search or
when officers reasonably suspect criminal activity.”).
Accordingly, the Court finds that it was objectively reasonable
for Officer Freeman to attempt the “knock and talk” at
Plaintiffs’ residence.

Plaintiffs do not dispute that, when Officer Freeman arrived
at Plaintiffs’ home, a female came to the door, looked at the
officers, and then excitedly ran back into the trailer home out
of sight while loudly shouting that the police were at the door.
lt is likewise undisputed that Officer Freeman then heard
footsteps loud enough to indicate that several people were
running inside the trailer home; only then did Officer Freeman
enter the home.

Considering all the circumstances and in light of
Plaintiffs’ clearly established constitutional rights, the Court
finds that Officer Freeman’s warrantless entry into Plaintiffs'
home was not objectively unreasonable. Given what Officer
Freeman knew prior to arriving at the premises - that previous
surveillance had indicated the possibility of drug activity
taking place on the premises and a contemporaneous tip that

indicated drug activity was occurring on the date of the search -

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combined with the circumstances he encountered when he announced
his presence, it was objectively reasonable for Officer Freeman
to believe that he had sufficient probable cause to enter the
home. ln addition, the Court finds that it was objectively
reasonable for Officer Freeman to believe that evidence or
contraband may have been in jeopardy of being destroyed or that
he or other officers may have been in danger, and therefore that
exigent circumstances also existed so as to justify a warrantless
entry into the home. Even if Officer Freeman may have been
incorrect regarding whether sufficient probable cause plus
exigent circumstances existed to justify the entry, the Court
finds that such a belief was objectively reasonable under the
totality of the circumstances.
b. Conduct Involving Officers Feathers and Freeman

With respect to the conduct that occurred subsequent to the
entry into Plaintiffs’ home, Plaintiffs’ allegations pertain to
the conduct of both Officer Freeman and Officer Feathers.
Accordingly, the Court will analyze whether qualified immunity
should apply as to both Defendants regarding the post-entry
conduct.

lt is undisputed that, after securing the area, the officers
obtained oral consent to search the home from Plaintiffs, that
both Plaintiffs signed consent to search forms, and that after a

brief initial search a search warrant was obtained and a full

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search conducted. ln light of the knowledge that Officer Freeman
possessed prior to arriving at Plaintiffs’ residence,r the oral
and then written consent to search obtained by the officers, and
the procurement of a search warrant, the Court finds that the
actions of Officer Freeman and Officer Feathers subsequent to the
entry into Plaintiffs' home were also objectively reasonable.
Because the Court has found that the actions of Officer
Freeman and Officer Feathers were objectively reasonable, both
officers are entitled to qualified immunity from Plaintiffs’
claims. Accordingly, the motions for summary judgment of
Officers Freeman and Feathers on the basis of qualified immunity

are GRANTED.

2. Loss, Damage and/or Storage of Plaintiffs’ Seized
Property

Plaintiffs contend that their claims extend beyond the
original search and seizure, and that Defendants are liable for
alleged loss and/or damage to their property that occurred either
during or subsequent to the search and seizure. In particular,
Plaintiffs contend that Defendants owed them a duty to properly
store their confiscated property, the breach of which resulted in
damage to or loss of their property. (Pls.' Compl.) The Court
construes this allegation as one under § 1983 pursuant to the
Fourteenth Amendment for deprivation of property without due

process of law.

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Both Defendants contend that Plaintiffs' claims regarding
any loss or damage to their property during or subsequent to the
seizure should be dismissed because Plaintiffs fail to point to
any evidence that either Defendant was responsible for the
confiscation, storage, or maintenance of Plaintiffs’ property or
that either Defendant caused any damage to or loss of Plaintiffs'
property. Having reviewed the record and the parties’
submissions,r the Court finds that Plaintiffs fail to point to any
evidence in the record to show that either Defendant had any role
in the storage or maintenance of Plaintiffs' property or caused
any damage to or loss of Plaintiffs’ property. Rather, the
deposition testimony of Mr. Chambers indicates that he is not
aware of any actions that either Defendant took with respect to
his property. When confronted with a properly-supported motion
for summary judgment, the nonmoving party “must set forth
specific facts showing that there is a genuine issue for trial."
Fed. R. Civ. P. 56(e); see also Abeita v. TransAmerica Mailingsc
lng;, 159 F.3d 246, 250 (6th Cir. 1998). Plaintiffs have failed
to do so. Accordingly, the Court finds that, even if Defendants
were not entitled to qualified immunity from Plaintiffs’ claims,
Plaintiffs have failed to point to evidence in the record to
create a genuine issue of material fact regarding whether either
Defendant was responsible for any damage or loss to their

property - and therefore that either Defendant was responsible

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for the deprivation of any constitutional or federal statutory
right pursuant to § 1983. See Parratt, 451 U.S. at 535; Block,
156 F.3d at 677. Moreover, even if Plaintiffs had pointed to
evidence that Defendants were involved in the storage or
maintenance of Plaintiffs' property, Plaintiffs point to no
evidence in the record or legal authority to show that such
conduct rises to the level of a constitutional violation.
Additionally, both Officers contend that Plaintiffs are
barred from asserting a § 1983 claim pursuant to the Fourteenth
Amendment because a post-deprivation remedy was available to them
through state law.
[A]n unauthorized intentional deprivation of property
by a state employee does not constitute a violation of
the procedural requirements of the Due Process Clause
of the Fourteenth Amendment if a meaningful
postdeprivation remedy for the loss is available. For
intentional, as for negligent deprivations of property
by state employees, the state's action is not complete
until and unless it provides or refuses to provide a
suitable postdeprivation remedy.

Hudson v. Palmer, 468 U.S. 517, 533 (1984). Plaintiffs have not
alleged that a postdeprivation remedy for their alleged loss was
not available. Rather, the record shows that such a remedy was
available through the Tennessee Department of Safety and that
Plaintiffs took advantage of it, settling their claims through
that process. Accordingly, no genuine issues of material fact

exist and Defendants are entitled to judgment as a matter of law

regarding Plaintiffs' § 1983 claims alleging loss or damage to

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their property during or subsequent to the seizure.11
Plaintiffs’ § 1983 claims against both officers are therefore
DISMISSED.12

D. State Law Claims

Plaintiffs’ Complaint also asserts unspecified claims
pursuant to the laws and Constitution of the State of Tennessee.
Having granted Defendants’ motions for summary judgment and
dismissed Plaintiffs’ federal claims, the Court exercises its
discretion to decline to assert supplemental jurisdiction over
Plaintiffs' state law claims pursuant to 28 U.S.C. § 1367(c)(3).
Accordingly, Plaintiffs’ state law claims against Defendants are
hereby DISMISSED.
IV. CONCLUSION

For the foregoing reasons, the motions for summary judgment
of Defendants Freeman and Feathers are GRANTED and all of

Plaintiffs’ claims are DISMISSED.

 

n Accordingly, the Court need not address Defendant
Freeman’s contention that Plaintiffs are barred from suing
Defendant Freeman due to the release signed by Leslie Chambers.

n ln their Complaint, Plaintiffs also assert that
Defendants violated their rights pursuant to the Eighth
Amendment. In their response to Defendants motions for summary
judgment, however, Plaintiffs do not articulate any theory upon
which either Defendant violated any of their rights pursuant to
the Eighth Amendment. Nonetheless, Defendants would be entitled
to qualified immunity from any such claim based upon the facts
alleged by Plaintiffs.

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so oRDERED this il day of Auguat, 2005.

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JO P. MCCALLA
U TED STATES DISTRICT JUDGE

 

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